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1
                               UNITED STATES DISTRICT COURT
2                            NORTHERN DISTRICT OF CALIFORNIA
                                     SAN JOSE DIVISION
3

4    FEDERAL TRADE COMMISSION,
5               Plaintiff,
6         v.                                 Case No. 5:22-cv-04325-EJD
7    META PLATFORMS, INC., et al.,           STIPULATION AND [PROPOSED]
                                             ORDER TO AMEND COMPLAINT
8               Defendants.
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1           Pursuant to Federal Rule of Civil Procedure 15(a)(2), Plaintiff Federal Trade Commission

2    (“FTC”), and Defendants Meta Platforms, Inc. and Within Unlimited, Inc. (collectively,

3    “Defendants”) through their undersigned counsel, hereby stipulate as follows:

4           WHEREAS, on July 27, 2022, the FTC filed a Complaint for a Temporary Restraining

5    Order and Preliminary Injunction Pursuant to Section 13(b) of the Federal Trade Commission

6    Act (the “Complaint”) concerning the proposed acquisition of Within Unlimited, Inc. by Meta

7    Platforms, Inc. (the “Proposed Transaction”), and on August 26, 2022, Defendants each

8    answered the Complaint (the “Answers”);

9           WHEREAS, on August 4, 2022, the parties filed a Joint Stipulation and Proposed Order

10   whereby Defendants agreed, inter alia, not to close or consummate the Proposed Transaction

11   until after 11:59 PM Eastern Time on December 31, 2022, or until the first (1st) business day

12   after the District Court rules on the FTC’s request for a preliminary injunction pursuant to

13   Section 13(b) of the Federal Trade Commission Act, whichever occurs earlier in time;

14          WHEREAS, on August 5, 2022, the Court granted the parties’ Joint Stipulation and

15   Proposed Order of August 4, 2022;

16          WHEREAS, on August 11, 2022, the FTC issued an administrative complaint regarding

17   the Proposed Transaction;

18          WHEREAS, on August 23, 2022, the parties filed a Joint Stipulation of Dismissal of

19   Mark Zuckerberg, whereby, inter alia, the FTC agreed voluntarily to dismiss the claims it had

20   asserted against Mark Zuckerberg in the above-captioned case pursuant to Rule 41(a)(1)(A)(ii) of

21   the Federal Rules of Civil Procedure, without prejudice;

22          WHEREAS, Plaintiff desires to amend the Complaint to (1) remove allegations

23   concerning the VR Fitness App market, including any anticompetitive effects in that market

24   should the Proposed Transaction occur; (2) remove Mark Zuckerberg as a named defendant,

25   pursuant to the parties’ Joint Stipulation of August 23, 2022; and (3) conform the Complaint to

26   the present procedural posture—specifically, that the FTC no longer seeks an emergency

27   temporary restraining order and has filed a complaint in the administrative court;

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1           WHEREAS, the stipulated amendment will not alter the date of any event or any deadline

2    already fixed by Court order;

3           IT IS HEREBY STIPULATED AND AGREED by the parties, through their counsel, that

4    pursuant to Federal Rule of Civil Procedure 15(a)(2), the FTC may file an Amended Complaint,

5    a copy of which is attached hereto;

6           IT IS FURTHER STIPULATED that Defendants waive notice and service of the

7    Amended Complaint. Defendants reserve their right to file a responsive pleading, including a

8    motion to dismiss the Amended Complaint, but they shall not be required to answer the

9    Amended Complaint and all denials, responses and affirmative defenses contained in

10   Defendants’ Answers to the Complaint shall be deemed responsive to the Amended Complaint.

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12   Dated: October 7, 2022

13   By: /s/ Abby L. Dennis                             By: /s/ Bambo Obaro
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20                                              Counsel for Defendant Within Unlimited, Inc.

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22          PURSUANT TO STIPULATION, IT IS SO ORDERED, this _____ day of
23   ________________, 20_____.
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25                                           _________________________
                                             Honorable Edward J. Davila
26                                           United States District Judge
                                             Northern District of California
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1                                       FILER’S ATTESTATION
2    I, Abby L. Dennis, am the ECF User whose ID and password are being used to file this JOINT
3    STIPULATION AND [PROPOSED] ORDER TO AMEND COMPLAINT. In compliance with
4    Civil Local Rule 5-1(h), I hereby attest that concurrence in the filing of this document has been
5    obtained from each of the other signatories.
6                                                                        By: /s/ Abby L. Dennis
7                                                                                Abby L. Dennis
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     STIPULATION AND [PROPOSED] ORDER TO AMEND COMPLAINT
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